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                                UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
                                                   Case No. 1:22-cr-56-DCN
                Plaintiff,
                                                   INFORMATION
       vs.
                                                   18 U.S.C. § 242

JOSEPH ALAN HOADLEY,

                Defendant.


       The United States Attorney charges:

                                              COUNT 1
                             (Deprivation of Rights Under Color of Law)
                                           18 U.S.C. § 242

       On or about March 30, 2017, in the District of Idaho, JOSEPH ALAN HOADLEY, while

acting under color of law as a ranking Lieutenant and Police Officer with the Caldwell City

Police Department, struck B.H., willfully depriving him of the right, secured and protected by

the Constitution and the laws of the United States, to be free from the use of unreasonable force

by a law enforcement officer.

       All in violation of Title 18, United States Code, Section 242.




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     Dated this ____ day of March.

                                     RAFAEL M. GONZALEZ, JR.
                                     UNITED STATES ATTORNEY
                                     By:


                                     _______________________________________
                                      KATHERINE L. HORWITZ




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